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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

KAMME O,                                       §
               Plaintiff,                      §
                                               §
v.                                             §      CIVIL ACTION NO. 4:17-CV-03877
                                               §
TEXAS A&M UNIVERSITY, ET. AL.,                 §
         Defendants                            §


        DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
            PLAINTIFF’S FIRST UNOPPOSED AMENDED COMPLAINT


TO THE HONORABLE MAGISTRATE JUDGE NANCY K. JOHNSON:

       Plaintiff’s Complaint must be dismissed because her claims against these Defendants are

either barred by Defendants’ immunity or Plaintiff fails to state a viable claim for relief. Although

Plaintiff filed a response to Defendants’ Motion to Dismiss she fails to address any of the

arguments Defendants made supporting their request to dismiss her Complaint. Moreover, nothing

in Plaintiff’s Complaint or her Response establishes any reason why (1) her claims are not barred

by Defendants’ Immunity or (2) her claims are viable. See Plaintiff Kamme O’s Amended

Complaint and Response to Motion to Dismiss. [DKTs 23 and 30]

       Plaintiff’s claims must be dismissed because they are either jurisdictionally barred by

Defendants’ Eleventh Amendment Immunity or they are not valid claims for which relief can be

granted. Plaintiff’s ADEA claim and Whistleblower claim are barred because she cannot plead a

valid waiver of Defendants’ Immunity. Plaintiff’s Title IX discrimination claim is barred because

Title VII provides the exclusive remedy for employment discrimination claims. Plaintiff’s

retaliation claims fail because Plaintiff did not engage in any protected activity as defined by Title

IX or Title VII nor can she show that her protected activity caused her termination. Additionally,
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Plaintiff’s Title VII claims fail because A&M System was not Plaintiff’s employer and Plaintiff

cannot establish a prima facie case of discrimination or retaliation against TAMU. Lastly, Plaintiff

does not have a private cause of action for the alleged violations of the Texas Penal Code Section

37-10 (“Tampering with Governmental Records”) or the Texas A&M System Regulations

08.01.01 and 33.99.01.

       For the reasons stated here and in Defendants’ opening brief, Defendants Texas A&M

University and A&M System respectfully request that the Court grant their Motion to Dismiss

Plaintiff’s Amended Complaint and dismiss with prejudice all of Plaintiff’s claims in their entirety.

                                      Respectfully submitted,

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                                      Attorney General of Texas

                                      JEFFREY C. MATEER
                                      First Assistant Attorney General

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                                      /s/ Yvonne D. Bennett
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                                     ATTORNEYS FOR DEFENDANTS
                                     TEXAS A&M UNIVERSITY and
                                     TEXAS A&M UNIVERSITY SYSTEM




                                CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of this document has been served via PACER

electronic notification and email on this 17th day of May 2018, on:

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                                                /s/ Yvonne D. Bennett
                                                YVONNE D. BENNETT
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